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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    MAGISTRATE NO. 21-MJ-072
                                                  :
           v.                                     :
                                                  :    VIOLATIONS:
 BRYAN BETANCUR,                                  :    18 U.S.C. § 1752(a)(1)
 also known as Bryan Clooney,                     :    (Entering and Remaining in a Restricted
 also known as Maximo Clooney,                    :    Building or Grounds)
                                                  :    18 U.S.C. § 1752(a)(2)
                          Defendant.              :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building or Grounds)
                                                  :    40 U.S.C. § 5104(e)(2)(C)
                                                  :    (Entering and Remaining in Certain
                                                  :    Rooms in the Capitol Building
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Disorderly Conduct in a Capitol Building
                                                  :    or Grounds)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)


                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, BRYAN BETANCUR, also

known as Bryan Clooney, also known as Maximo Clooney, did unlawfully and knowingly

enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, or

otherwise restricted area within the United States Capitol and its grounds, where the Vice

President and Vice President–elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds , in violation of Title 18, United
States Code, Section 1752(a)(1))
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                                      COUNT TWO

       On or about January 6, 2021, in the District of Columbia, BRYAN BETANCUR, also

known as Bryan Clooney, also known as Maximo Clooney, did knowingly, and with intent to

impede and disrupt the orderly conduct of Government business and official functions, engage in

disorderly and disruptive conduct in and within such proximity to, a restricted building and

grounds, that is, any posted, cordoned-off, or otherwise restricted area within the United States

Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of

Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(2))

                                      COUNT THREE

               On or about January 6, 2021, in the District of Columbia, BRYAN BETANCUR,

also known as Bryan Clooney, also known as Maximo Clooney, willfully and knowingly, and

with the intent to disrupt the orderly conduct of official business, entered and remained in a

room in any of the Capitol Buildings set aside and designated for the use of either House of

Congress and a Member, committee, officer, and employee of Congress, and either House of

Congress, and the Library of Congress, without authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(C))


                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, BRYAN BETANCUR, also

known as Bryan Clooney, also known as Maximo Clooney, willfully and knowingly engaged in

disorderly and disruptive conduct in any of the Capitol Buildings or Grounds with the intent to

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impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of

Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40, United States
Code, Section 5104(e)(2)(D))


                                      COUNT FIVE

       On or about January 6, 2021, in the District of Columbia, BRYAN BETANCUR, also

known as Bryan Clooney, also known as Maximo Clooney, willfully and knowingly paraded,

demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United
States Code, Section 5104(e)(2)(G))



                                                     Respectfully submitted,

                                                     MICHAEL R. SHERWIN
                                                     Acting United States Attorney
                                                     New York Bar No. 4444188


                                             By:     /s/ Brenda J. Johnson
                                                     Brenda J. Johnson
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